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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------      X
In re PLATINUM-BEECHWOOD LITIGATION
-----------------------------------      X
SENIOR HEALTH INSURANCE COMPANY OF
PENNSYLVANIA,

       Plaintiff,                                  19-dv-7137 (JSR)

                -v-

LINCOLN INTERNATIONAL LLC, et al.,
                                                  MEMdRANDUM ORDER
       Defendants.
-----------------------------------      X


JED S. RAKOFF, U.S.D.J.

     On July 30, 2019, plaintiff Senior Health Insurance Company

of Pennsylvania ("SHIP") filed a complaint in the instant action

against Lincoln International LLC and Lincoln Pa~tners Advisors

LLC (collec~ively, "Lincoln"), about a full two ~nd a half

months after the twice-extended deadline for th~ filing of any
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related actions or addition of new parties. ECF No. 5. As this

belated filing of the complaint blatantly violated the Court's

unequivocal order and the needs of all concerned, the Court

asked the parties to make letter submissions explaining why the

Court should or should not permit SHIP's complaint to proceed.

After reviewing these submissions, the Court found that (1)

there was no good cause excusing SHIP's violation of the

scheduling order and (2) there would be significant prejudice to
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Lincoln and related parties if the complaint were to proceed.

ECF No. 16. The Court therefore dismissed SHIP'sj' complaint with

prejudice. Id.
                                                          I
        Now before the Court is SHIP's motion for reconsideration.

ECF No. 18. The gist of SHIP's argument is that the Court

overlooked controlling case law related to when a dismissal with

prejudice is proper in such circumstances. Plaintiff SHIP's

Memorandum in Support of its Motion for Reconsideration, ECF No.

19 ("SHIP Mem."). Lincoln opposes. Defendants' Memorandum of Law

in Opposition to SHIP's Motion for Reconsideration, ECF No. 22

("Lincoln Opp."). For the reasons set forth belo~, the Court

grants SHIP's motion, vacates its prior order di~missing the
                                                          'I
complaint with prejudice, and imposes the follow~ng ameliorative
                                                          I
steps and sanctions on SHIP:        (1) Lincoln may demand by September

20, 2019 additional documents relating to SHIP's; instant

complaint, which documents must be produced by srptember 30,
                                                          1

2019;    (2) upon Lincoln's demand, SHIP is required to promptly

re-produce for deposition by Lincoln any witness~s deposed in

September 2019; and (3) within one week of the date of this

Memorandum Order, SHIP must pay Lincoln the sum of $50,000 to

mitigate the added costs that Lincoln has and wi~l incur due to

SHIP's failure to comply with the Court's order, and by way of a

sanction.


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                                     Analysis

      The standard for granting a motion for reconsideration "is
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strict, and reconsideration will generally be dehied unless the
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moving party can point to controlling decisions                 pr   data that the

court overlooked - matters,          in other words, that; might

reasonably be expected to alter the conclusion r'eached by the

court." Shrader v. CSX Transp. Inc., 70 F.3d 255, 257                   (2d Cir.

1995) . 1

      On the one hand, the Court agrees with Linc'oln that none of
                                                                I



the legal authority or additional factual explanations now

proffered by SHIP change the Court's "fundamentaQ conclusion

that SHIP failed to show good cause for its unti~ely complaint."

Lincoln Opp. 6. Nor does the Court accept SHIP'~ claims that it
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was not on notice that a dismissal with prejudide was being
                                                            l
considered. SHIP Mem. 2. 2



1                                                '
  Unless otherwise indicated, in quoting cases all  internal
                                                 l
quotation marks, alterations, emphases, footnot~s, and citations
are omitted.
2 As early as August 5, 2019, Lincoln informed SHIP that,  if SHIP
does not withdraw the complaint, Lincoln would ''seek relief from
the Court, including dismissal of the complaint 'and an award of
costs." Gold Deel., Ex. A. Furthermore, during the joint
telephone conference dated August 7, 2019, the dourt asked the
parties to submit letters explaining why the Court should or
should not allow the complaint to proceed; indeed, SHIP itself
wrote that the purpose of submitting the letterJto the Court was
"to request that the Court permit SHIP's complaint against
Lincoln .    . to proceed notwithstanding that i~ was filed on
                                                            '



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                                                '
     Nonetheless, the Court is now persuaded that the legal

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authorities now SHIP brings to the Court's attention warrant a
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less onerous result. See, e.g., Lucas v. Miles, .84 F.3d 532, 535
                                                       i
                                                       I
(2d Cir. 1996); Dodson v. Runyon, 86 F.3d 37, 3~ (2d Cir. 1996).
                                                       l

In particular, Dodson contends cautiously that, in such

circumstances, "[a] district judge should employ- [sanction of

dismissal] only when he is sure of the impotence1 of lesser

sanctions." Dodson, 86 F.3d at 39.

     Based on the language from Dodson, the Cour~ is now

persuaded that the harm to Lincoln can be adequa~ely mitigated
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by these steps, to wit:    (1) Lincoln may demand by September 20,

2019 additional documents relating to SHIP' s ins,tant complaint,
                                                       '
which documents must be produced by September 30j, 2019;         (2) upon
                                                       I

Lincoln's demand, SHIP is required to promptly r:e-produce for

deposition by Lincoln any witnesses deposed in September 2019;
                                                       I

and (3) within one week of the date of this Memorandum Order,

SHIP must pay Lincoln the sum of $50,000 to Lincoln to mitigate

the added costs that Lincoln has and will incur idue to SHIP' s

failure to comply with the Court's order. The latter payment

will also serve as a sanction.




July 30, 2019." ECF No. 15, at 1. Indeed, this latter argument
borders on the disingenuous.

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     In short, while the Court still finds SHIP's conduct to be
                                                I1'
egregious, it should not be deprived of its day in court on its

complaint against Lincoln when lesser steps will suffice to

mitigate the harms SHIP has caused.
                                                       i
     A few housekeeping remarks follow. First, the parties are

reminded that, except in the respects listed above, this new

case is subject to the consolidated schedule previously entered

in the overall litigation. See 18-cv-6658, ECF ~o. 587. Second,

the parties are reminded to file all further dodumentation in

this case on the master docket named In re Plat{num-Beechwood

Litigation with the case number 18-cv-6658 (JSR)·, in addition to

filing on the present docket with the case number 18-cv-7137
                                                       I

(JSR). Third, SHIP is directed to promptly prep~re and submit to

the Court by September 30, 2019 a new version of the complaint

that removes the excessive redactions, referred to in the

Court's order dated August 6, 2019. ECF No. 13. Fourth, if

Lincoln wishes to make a motion to dismiss the instant complaint
                                                       l
on grounds other than untimeliness, the parties 'are directed to

make a joint call to the chambers promptly to set a briefing

schedule.

                               Conclusion

     For the reasons set forth above, the Court 'grants SHIP's

motion, vacates its prior order dismissing the aomplaint with


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prejudice, and imposes the following ameliorative steps and

sanctions on SHIP:        (1) Lincoln may demand by Sep'tember 20, 2019

additional documents relating to SHIP' s instant ·complaint, which

documents must be produced by September 30, 2019;;            (2) upon
                                                          I
Lincoln's demand, SHIP is required to promptly re-produce for

deposition by Lincoln any witnesses deposed in September 2019;

and (3) within one week of the date of this Memorandum Order,

SHIP must pay Lincoln the sum of $50,000 to Lincoln to mitigate

the added costs that Lincoln has and will incur :due to SHIP's

failure to comply with the Court's order, and by way of a

sanction.

     The Clerk of the Court is directed to close the entry at

docket number 18 and vacate its final judgment dated August 21,

2019 in docket number 17.
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     so    ORDERED.                                       I


 Dated:       New York, NY
              September    r;,   2019
                                                :f:g~l:i           U.S.D.J.




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